      CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 1 of 6



                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________________________________________

                                                  Civil No: 0:12-cv-03031-PAM-JJK
Jonathon Ziesmer,

                     Plaintiff,        PLAINTIFF’S MEMO OF LAW
                                       IN SUPPORT OF MOTIONS IN
                                       LIMINE TO EXCLUDE EVIDENCE
v.                                     RELATING TO PLAINTIFF’S
                                       APPLICATION FOR DISABILITY
Derrick Lee Hagen, individually and    BENEFITS; EMPLOYMENT
In his professional capacity as a      STATUS; DEFENDANT’S
Minnesota State Patrol Officer,        COMMENDATIONS; AND
                                       WITNESS JONES’ PETTY
                      Defendant.       MISDEMEANOR CONVICTION
________________________________________________________________________

                                    INTRODUCTION

       The Plaintiff, Jonathon Ziesmer, hereby brings the following Motion in Limine

preceding the trial in this matter pursuant to Fed. R. Evid. 104, 401, and 403. The

Plaintiff moves to exclude evidence and testimony regarding Plaintiff’s (1) application

and proceedings for disability benefits; (2) employment status; (3) Defendant’s

Commendations; and (4) Witness Jones’ Petty Misdemeanor conviction.

                                          FACTS

       This case pertains to the excessive and unreasonable amount of force used by

Defendant, Derrick Lee Hagen, against Plaintiff. On August 22, 2010, Defendant tackled

Plaintiff, wrenched his arms behind his back, and while Plaintiff was face down on the

ground with his hands cuffed behind his back, Defendant punched him several times in

the back of his head, driving Plaintiff’s face into the ground.
         CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 2 of 6



         Throughout the course of discovery, Defendant learned that Plaintiff was

unemployed and filed a claim with the Social Security Department for disability benefits

on or around May 9, 2012 and that the claim was ultimately denied on February 28, 2014.

Plaintiff’s application for disability benefits and his employment status is unrelated to the

events that took place on August 22nd, 2010, but could potentially cause a jury to cast

undue prejudice upon Plaintiff and mislead the jury if the information is presented to

them.

         Also, through discovery, Plaintiff learned that Defendant received a

commendation for Drug Intervention and that witness Jones was convicted of a petty

misdemeanor unlawful assembly charge.

         The above information should be excluded from evidence because it is not

relevant to the jury’s deliberations regarding Defendant’s use of force or Plaintiff’s

injuries sustained due to such force on August 22nd, 2010 and would likely have the

effect of unfairly prejudicing the Plaintiff and misleading the jury.

                                         ANALYSIS

    I.      Documents and Testimony Regarding Plaintiff’s Application for Disability
            Benefits Should be Excluded on the Grounds That Such Evidence is
            Irrelevant, Misleading, and Unfairly Prejudicial.

         The fact that Plaintiff Ziesmer applied for and was denied disability benefits has

absolutely nothing to do with the damages he sustained at the hands of Officer Hagan on

August 22, 2010. Thus, because there is no reasonable connection between Plaintiff

applying for disability benefits and being denied benefits with this § 1983 cause of

action, such evidence should be excluded under Fed. R. Evid. 401.


	                                              2
          CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 3 of 6



          Furthermore, if the Court should find this evidence has any probative value, it is

substantially outweighed by the danger of unfair prejudice it would cause the Plaintiff

and likelihood it would mislead the jury. If a jury would be allowed to hear evidence that

Plaintiff was denied disability benefits within the same time period of the incident at bar

it could undoubtedly lead them to mistakenly conclude that Plaintiff should be denied

compensation for the injuries caused by Officer Hagen. Further, presenting such

information that has nothing to do with what happened on August 8th, 2010, as evidence

would likely lead the jurors to unfairly prejudice the Plaintiff and may lead to the

conclusion that Plaintiff is undeserving of his day in court simply because he applied for

benefits. Thus, the danger of the jury being unduly swayed and misled by this irrelevant

evidence is grounds for exclusion under Fed. R. Evid. 403.

    II.      Documents and Testimony Regarding Plaintiff’s Employment Status
             Should be Excluded on the Grounds that Such Evidence is Irrelevant and
             Unfairly Prejudicial.

          Through deposition testimony, Defendant has obtained information regarding

Plaintiff’s employment status. Plaintiff has been unemployed and at times homeless

throughout his life. Whether Plaintiff is employed full-time, part-time, or unemployed is

completely irrelevant and has no tendency to make any fact about the August 22, 2010

incident more or less probable. Further, Plaintiff’s employment status is of no

consequence in determining whether Officer Hagen used excessive force. Thus, Plaintiffs

employment status should be excluded under Fed. F. Evid. 401.

          Furthermore, if the Court should find Plaintiff’s employment status during any

time of his life has any probative value, it is vastly outweighed by the danger of unfair


	                                               3
      CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 4 of 6



prejudice it would cause the plaintiff. Allowing this information in as evidence would

undoubtedly stigmatize the plaintiff and may sway the jurors towards unfair conclusions

about the events that happened. As such, the danger of jurors being unduly swayed by

this evidence is ground for exclusion under the Fed. R. Evid. 403.

    III.   Documents and Testimony Regarding Defendant’s Commendations
           Should be Excluded on the Grounds that Such Evidence is Irrelevant,
           Misleading, Confusing, and Unfairly Prejudicial.

       Defendant Hagen has produced documentation that he has received positive

commendations for Drug Intervention in 2011. That Defendant received commendation

for acts unassociated with the issues raised in Plaintiff’s case is not relevant as defined in

Fed. R. Evid. 401. Moreover, whether Defendant Trooper received recognition for his

drug intervention skills for separate incidents in 2011, does not have any consequence on

whether he acted with outrageous offense to Mr. Ziesmer’s civil rights and liberties on

August 22, 2010 or the search he conducted on that evening. It has no bearing on the

probability of whether Defendant Hagen performed the alleged conduct, as there is no

reasonable connection between the commendation and the events in question in this

lawsuit. Thus, this commendation should be excluded under Fed. R. Evid. 401.

       Furthermore, the testimony should be excluded under Rule 403. Defendant

Hagen’s testimony and/or documentary evidence regarding the commendation would be

misleading to the jury because Defendant Hagen would be using it to create an inference

that his conduct and character on August 22, 2010 was in-line with his conduct and

character in 2011 when he received the commendation. Clearly, it is not possible for any

underlying fact to support such an argument. It also has the potential to cause confusion


	                                             4
      CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 5 of 6



of the issues, because the jury may be led to conclude that the commendation is

dispositive in this case, when in fact, it has no bearing on whether or not Defendant

committed the alleged conduct. The potential for confusion should be eliminated by

excluding testimony and or documentary evidence regarding Defendant Hagen’s

commendation.

          Finally, if the Court should find this evidence has any probative value, it is

outweighed by the danger of unfair prejudice. Any weight that a jury would attach to this

evidence would be based on an unreasonable expectation that Defendant Hagen would

act in all circumstances with this kind of conduct for which he was commended. This is

an inaccurate and unfair standard, as there is no way to support such an inference, and the

danger of the jury being unduly swayed by this evidence is ground for exclusion under

the Fed. R. Evid. 403.

    IV.      Evidence and Testimony of Witness Jones’ Petty Misdemeanor Conviction
             of Unlawful Assembly Should be Excluded From Evidence as it is
             irrelevant and unfairly prejudicial.

          Plaintiff intends to call Travis Jones as a witness in his case. On July 9, 2011, Mr.

Jones was charged with Riot-2nd Degree-Armed with Dangerous Weapon; Riot-3rd

Degree Unlawful Force or Violence; and Unlawful Assembly. Mr. Jones ultimately pled

guilty to the misdemeanor charge of unlawful assembly which was certified as a Petty

Misdemeanor pursuant to Minn. R. Crim. P. 23.02. Mr. Jones’ petty misdemeanor

conviction of unlawful assembly has no relevance in the case at hand and thus testimony

eliciting his conviction or events surrounding the criminal charge should be excluded

pursuant to Fed. R. Evid. 401. Further, evidence and testimony of Mr. Jones’ conviction


	                                                5
      CASE 0:12-cv-03031-PAM-JJK Document 77 Filed 07/20/15 Page 6 of 6



is inadmissible under Fed. R. Evid. 609 since the crime at issue is not punishable by

imprisonment for more than a year and did not involve a dishonest act or false statement.



                                     CONCLUSION

       For the forgoing reasons, the Plaintiff respectfully requests that his Motion in

Limine be granted in its entirety.

                                                 Respectfully submitted,

Dated: July 20, 2015

                                                 s/Christopher J. Kuhlman
                                                 Christopher J. Kuhlman
                                                 MN Bar No. 0386840
                                                 Kuhlman Law, PLLC
                                                 333 Washington Ave. N., Suite 335
                                                 Minneapolis, MN 55401
                                                 Telephone: 612.349.2747
                                                 Fax: 612.435.9835
                                                 Email: ckuhlman@CkLegal.com




	                                            6
